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 1   LISA A. RASMUSSEN, ESQ.
     Nevada Bar No. 7491
 2   THE LAW OFFICES OF KRISTINA
     WILDEVELD & ASSOCIATES
 3   550 E. Charleston Blvd., Suite A
 4   Las Vegas, NV 89104
     Tel./Fax (702) 222-0007 / (702) 222-0001
 5   Email: Lisa@VeldLaw.com

 6
     Attorneys for Leilani Blanco
 7
8
 9                              UNITED STATES DISTRICT COURT

10                                     DISTRICT OF NEVADA

11
     UNITED STATES OF AMERICA,                            Case No. 2:20-CR-0298
12
13                 Plaintiff,                                 STIPULATION TO MOVE
                                                              INITIAL APPEARANCE DATE;
14
           v.                                                 AND ORDER
15
     LEILANI BLANCO,
16
17                   Defendant.
18
19         COME NOW the parties, Defendant Leilani Blanco, by and through her counsel, Lisa

20   A. Rasmussen, and the United States of America, by and through its counsel, AUSA Kimberly

21   Sokolich, and hereby stipulate as follows:
22         1. The initial appearance in this matter is presently scheduled for November 3, 2020
23              at 3 p.m.
24         2. Ms. Blanco is not in custody and is appearing via a Summons.
25         3. Ms. Rasmussen is not available on November 3, 2020 and has requested that the
26
                court move the hearing to a different date.
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           4. The parties agree to have this matter heard on November 5, 2020.
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           5. Ms. Rasmussen has coordinated the pretrial services interview for November 2,

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 1
               2020.
 2
            6. All parties anticipate appearing via video.
 3
            IT IS SO STIPULATED.
 4
 5          Dated October 30, 2020.

 6                               THE LAW OFFICES OF KRISTINA WILDEVELD

 7                               /s/ Lisa A. Rasmussen
                                 LISA A. RASMUSSEN, ESQ. (NV Bar No. 7491)
8
 9                               NICHOLAS TRUTANICH, UNITED STATES ATTORNEY
                                 DISTRICT OF NEVADA
10
11                               /s/ Kimberly Sokolich ______________________
                                 By: AUSA Kimberly Sokolich
12
13
14                                             ORDER
15
16          Upon the stipulation of the parties, and good cause appearing,

17          IT IS HEREBY ORDERED that the initial appearance, arraignment and plea hearing

18   for the Defendant, Leilani Blanco, presently scheduled for November 3, 2020, shall be
19   vacated and reset to November 5, 2020 at 3:30 p.m.
20          IT IS FURTHER ORDERED that counsel shall check in via video not later than 2:30
21   p.m.
22          Dated: _____________
                    Nov. 2, 2020

23                                             ____________________________________
                                               The Honorable Elayna J. Youchah
24                                             U.S. Magistrate Judge
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